        Case 4:11-cr-00298-BLW Document 395 Filed 09/19/16 Page 1 of 2




                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO



  UNITED STATES OF AMERICA,
                                                  Case No. 4:11-cr-00298-BLW-7

         Plaintiff,                               MEMORANDUM DECISION AND
                                                  ORDER
         v.

  MARILYN LEONES,

         Defendant.



                                    INTRODUCTION

       Defendant Marilyn Leones has petitioned the Court for appointment of counsel to

assist her in moving the Court for early termination of supervised release. Leones pled

guilty to one count of possession with intent to distribute a controlled substance. (Dkt.

293). She was sentenced to imprisonment for a term of 25 months with three years of

supervised release. (Dkt. 293). Leones did not appeal her sentence or conviction.



                       APPLICABLE LAW AND DISCUSSION

       The right to counsel “extends to the first appeal of right and no further.”

Pennsylvania v. Finley, 481 U.S. 551, 555 (1987). However, the decision of whether to




MEMORANDUM DECISION AND ORDER - 1
        Case 4:11-cr-00298-BLW Document 395 Filed 09/19/16 Page 2 of 2




appoint counsel is within the discretion of the district court but not constitutionally

guaranteed. See United States v. Harrington, 410 F.3d 598, 599 (9th Cir. 2005).

       Leones requests appointment of counsel based on her inability to pay an attorney

to assist her in moving for early termination of her supervised release. However, Leones

has not provided the Court with any substantive information regarding her financial

status, nor does she have a constitutional right to an attorney in this proceeding. Leones

was appointed CJA counsel on January 4, 2013 as her constitutional right to an attorney

in her criminal proceedings because she was unable to afford counsel at that time. (Dkt.

209). But the right to counsel does not extend past the first appeal, and, as such, does not

extend to the motion Leones seeks to make. Because she is not entitled to an attorney at

this point to seek early termination of supervised release, the Court denies her motion for

appointment of counsel.

                                          ORDER

       IT IS HEREBY ORDERED, that Defendant’s Motion for Appointment of

Counsel (Dkt. 393) is DENIED.



                                                  DATED: September 19, 2016


                                                  _________________________
                                                  B. Lynn Winmill
                                                  Chief Judge
                                                  United States District Court




MEMORANDUM DECISION AND ORDER - 2
